
PER CURIAM.
Appellant, Madonna Whittaker, appeals the amended final judgment of foreclosure and the order denying her "Objection to Nonservice, Foreclosure Sale, etc.; and Motion to Strike, Quash and Vacate." Appellee, PNC Bank, N.A., concedes that the lower court lacked personal jurisdiction over defendants Tenant I (who is Appellant), Tenant II, and Unknown Spouse of Allen Daniel Holland, because Appellee did not obtain personal service of process for the subject foreclosure action on those defendants. Accordingly, this Court reverses the final judgment and remands this cause to the trial court to enter an amended final judgment of foreclosure that does not include Appellant/Tenant I, Tenant II, and Unknown Spouse of Allen Daniel Holland as defendants or judgment debtors. The amended final judgment shall be effectively dated nunc pro tunc May 31, 2018. Appellee at its expense shall promptly cause to be recorded in the public land records of Orange County, Florida, and in every other county in which a judgment in this case was filed or recorded, certified copies of: (1) this opinion, (2) the mandate that will issue in this case, and (3) the amended final judgment called for herein.
Appellant lacks standing to assert any arguments on behalf of Allen Daniel Holland, and Appellee has not conceded error regarding obtaining judgment against Mr. Holland. Appellant's motion for attorney's fees is denied as there is no basis in law to grant same. Appellant's motion to tax her appellate costs is denied without prejudice for her to timely file a motion to tax appellate costs in the circuit court pursuant to Florida Rule of Appellate Procedure 9.400(a).
REVERSED and REMANDED.
LAMBERT, EDWARDS and GROSSHANS, JJ., concur.
